Case 22-11068-JTD   Doc 24523   Filed 09/11/24   Page 1 of 4




                                       Doc ID: 1e95de06ef54bd4e0c697ea0ce6f323798adf703
Case 22-11068-JTD   Doc 24523   Filed 09/11/24   Page 2 of 4




                                       Doc ID: 1e95de06ef54bd4e0c697ea0ce6f323798adf703
Case 22-11068-JTD   Doc 24523   Filed 09/11/24   Page 3 of 4




                                       Doc ID: 1e95de06ef54bd4e0c697ea0ce6f323798adf703
Case 22-11068-JTD   Doc 24523   Filed 09/11/24   Page 4 of 4




                                       Doc ID: 1e95de06ef54bd4e0c697ea0ce6f323798adf703
